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  1 SO. CAL. EQUAL ACCESS GROUP
    Jason J. Kim (SBN 190246)
  2 Jason Yoon (SBN 306137)
    101 S. Western Ave., Second Floor
  3 Los Angeles, CA 90004
    Telephone: (213) 252-8008
  4 Facsimile: (213) 252-8009
    scalequalaccess@yahoo.com
  5 Attorney for Plaintiff,
  6 LAMAR MYERS
  7                        UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
 10                                                Case No.: 2:20-cv-07010 DMG (KSx)
      LAMAR MYERS,
 11               Plaintiff,
 12                                                NOTICE OF SETTLEMENT OF
            vs.                                    ENTIRE CASE
 13
    CALIFORNIA CABINETS &
 14
    FLOORING, INC.; HECTOR
 15 NEVAREZ; and DOES 1 through 10,
 16          Defendants
 17
 18         Notice is hereby given that Plaintiff Lamar Myers ("Plaintiff") and Defendants
 19 have informally settled the entire above-captioned case. Defendant’s counsel stated
 20 that the case is settled and he only requires firm authority from Defendant. Parties
 21 requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
 22 to file dispositional documents in order to afford Parties time to complete settlement.
 23
      DATED: March 22, 2021                       SO. CAL EQUAL ACCESS GROUP
 24
 25
 26                                                     /s/ Jason J. Kim
 27                                               JASON J. KIM
                                                  Attorney for Plaintiff
 28

                                                         NOTICE OF SETTLEMENT OF ENTIRE CASE
